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     10                       UNITED STATES DISTRICT COURT
     11                      CENTRAL DISTRICT OF CALIFORNIA
     12
          LOREAN BARRERA, On Behalf of         CASE NO. 2:11-cv-04153-CAS (AGrx)
     13   Herself and All Others Similarly
          Situated,                            CLASS ACTION
     14
                        Plaintiff,             [PROPOSED] FINAL JUDGMENT AND
     15
                                               ORDER
               v.
     16
          PHARMAVITE, LLC, a California
     17   limited liability company
     18                 Defendant.
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                                                             CASE NO. 2:11-cv-04153-CAS (AGrx) FINAL
                                                                              JUDGMENT AND ORDER
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      1         Plaintiff Lorean Barrera and Defendant Pharmavite LLC (collectively, the
      2   “Parties”) have entered into a Settlement Agreement and General Release
      3   (“Settlement Agreement”) to settle this Litigation, which the Court preliminarily
      4   approved on June 6, 2017 (Dkt. 423). Plaintiff Barrera has filed an Unopposed
      5   Motion for Final Approval of Settlement and a Memorandum in Support of
      6   Unopposed Motion for Final Approval of Settlement (collectively, “Motion for Final
      7   Approval”). The Settlement Agreement, the exhibits thereto, and the exhibits to the
      8   Motion for Final Approval, set forth the terms and conditions for a proposed
      9   settlement and dismissal with prejudice of this Litigation.
     10         Having reviewed the Settlement Agreement and its exhibits, the Motion for
     11   Final Approval, the pleadings and other papers on file in this action, and statements
     12   of counsel, and having held a Fairness Hearing on the fairness, adequacy, and
     13   reasonableness of the settlement and considered all of the written submissions and
     14   oral arguments made in connection with final settlement approval, the Court finds
     15   that the Motion for Final Approval should be GRANTED and that this Final
     16   Approval Order should be entered. Terms and phrases used in this Final Approval
     17   Order shall have the same meaning ascribed to them in the Settlement Agreement.
     18         NOW, THEREFORE, IT IS HEREBY ORDERED THAT:
     19         1.      For settlement purposes only, the Court certifies the following
     20   Settlement Class:
     21         All residents of the United States who purchased for personal use, and not
     22         resale or distribution, a Covered Product between May 1, 2007 and June 6,
                2017.
     23
                Specifically excluded from the Settlement Class are the following persons:
     24
                (i)     Pharmavite and its respective affiliates, employees, officers, directors,
     25                 agents, and representatives, and their immediate family members;
     26         (ii)    Settlement Class Counsel and partners, attorneys, and employees of their
                        law firms; and
     27
                (iii)   The judges who have presided over the Litigation or mediated the
     28                 Settlement, and their immediate family members.
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      1         2.     For settlement purposes only, the Court appoints the following attorneys
      2   to act as Lead Settlement Class Counsel:
      3          Elaine A. Ryan                           Stewart M. Weltman
                 BONNETT, FAIRBOURN,                      SIPRUT, PC
      4          FRIEDMAN & BALINT, P.C.                  17 North State Street, Suite 1600
                 2325 East Camelback Road, Suite          Chicago, Illinois 60602
      5          300                                      Telephone: (312) 236-0000
                 Phoenix, Arizona 85016
      6          Telephone: (602) 274-1100
      7

      8         3.     For settlement purposes only, the Court appoints the following attorneys
      9   as Settlement Class Counsel. Settlement Class Counsel are experienced in class
     10   litigation, including litigation of similar claims in other cases, and have fairly and
     11   adequately protected the interests of the Settlement Class:
     12

     13
           Elaine A. Ryan                              Stewart M. Weltman
           BONNETT, FAIRBOURN,                         SIPRUT, PC
     14    FRIEDMAN                                    17 N. State Street
           & BALINT, P.C.                              Suite 1600
     15
           2325 East Camelback Road, Suite 300         Chicago, Illinois 60602
     16    Phoenix, Arizona 85016                      Telephone: (312) 236-0000
           Telephone: (602) 274-1100
     17

     18    Max A. Stein                                Howard J. Sedran
           BOODELL & DOMANSKIS, LLC                    LEVIN FISHBEIN SEDRAN &
     19
           One North Franklin, Suite 1200              BERMAN
     20    Chicago, IL 60606                           510 Walnut Street
           Telephone: (312) 938-1670                   Philadelphia, Pennsylvania 19106
     21
                                                       hsedran@lfsblaw.com
     22                                                Telephone: (215) 592-1500
     23    WESTERMAN LAW CORP.
     24    Jeff S. Westerman (94559)
           1875 Century Park East, Suite 2200
     25    Los Angeles, CA 90067
     26    Tel: (310) 698-7880

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      1         4.     For settlement purposes only, the Court appoints the Named Plaintiff as
      2   representative of the Settlement Class.
      3         5.     The Court finds that notice to the Settlement Class has been provided in
      4   accordance with the Court’s Preliminary Approval Order. This notice, in form,
      5   method, and content, fully complied with the requirements of Rule 23 and due
      6   process, constituted the best notice practicable under the circumstances, and
      7   constituted due and sufficient notice to all persons entitled to notice of the settlement.
      8         6.     The settlement set forth in the Settlement Agreement is fair, reasonable,
      9   adequate, and in the best interests of the Settlement Class. The Settlement Agreement
     10   was arrived at through good-faith bargaining at arm’s-length, without collusion,
     11   conducted by counsel with substantial experience in prosecuting and resolving
     12   consumer class actions. The settlement consideration provided under the Settlement
     13   Agreement constitutes fair value given in exchange for the release of the Released
     14   Claims against the Released Parties. The consideration to be provided to members of
     15   the Settlement Class is reasonable, considering the facts and circumstances of the
     16   numerous types of claims and affirmative defenses asserted in the Litigation, and in
     17   light of the complexity, expense, and duration of litigation and the risks involved in
     18   establishing liability and damages and in maintaining the class action through trial and
     19   appeal. All terms of the settlement and Settlement Agreement are approved by this
     20   Final Approval Order. The fact that this Final Approval Order specifically identifies
     21   or summarily recapitulates some, but not other, provisions of the Settlement
     22   Agreement does not modify any provision of the Settlement Agreement, nor does it
     23   elevate or demote any provision vis á vis any other provision, nor does it create an
     24   inference in that regard.
     25         7.     All Settlement Class members who failed to submit an objection to the
     26   settlement in accordance with the deadline and procedure set forth in the Preliminary
     27   Approval Order are deemed to have waived and are forever foreclosed from raising
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      1   the objection and are foreclosed from seeking any adjudication or review of the
      2   Settlement Agreement by appeal or by any other means.
      3         8.     Any Settlement Class Member who has not submitted a complete and
      4   timely Claim Form in compliance with the Settlement Agreement and the Court’s
      5   Preliminary Approval Order shall not be entitled to any benefits under the settlement,
      6   but, unless they have opted out, nonetheless shall be barred by the Release and
      7   provisions of the Settlement Agreement and the Final Order and Judgment.
      8         9.     The Court orders that any member of the Settlement Class who has not
      9   submitted a timely, written request for exclusion from the Settlement Class (i.e.,
     10   become an Opt-Out) as directed in the Preliminary Approval Order is bound by all
     11   proceedings, orders, and judgments in the Litigation, even if such Settlement Class
     12   Member has previously initiated or subsequently initiates individual litigation or other
     13   proceedings encompassed by the Release (as set forth in Section VII Paragraphs D - F
     14   of the Settlement Agreement).
     15         10.    The Parties, the Released Parties, and each Settlement Class member
     16   have irrevocably submitted to the exclusive jurisdiction of this Court for any suit,
     17   action, proceeding, or dispute relating in any way to, or arising out of, the Released
     18   Claims, the Settlement Agreement, or this Final Judgment and Order.
     19         11.    The Parties are directed to consummate the Settlement Agreement in
     20   accordance with its terms. The Parties and any and all Settlement Class members who
     21   did not timely exclude themselves from the Settlement Class are bound by the terms
     22   and conditions of the Settlement Agreement.
     23         12.    The requirements of Rule 23(a) and (b)(3) have been satisfied for
     24   purposes of settlement. The Settlement Class is so numerous that joinder of all
     25   members is impracticable; there are questions of law or fact common to the
     26   Settlement Class; the claims of the Plaintiff are typical of the claims of the Settlement
     27   Class; the Plaintiff has, and Settlement Class Counsel have fairly and adequately
     28   protected the interests of the Settlement Class, and will fairly and adequately protect
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      1   the interests of the Settlement Class; and the questions of law or fact common to
      2   Settlement Class members predominate over any questions affecting only individual
      3   members.
      4         13.     Subject to the terms and conditions of the Settlement Agreement, this
      5   Court hereby dismisses the Litigation with prejudice as to all Released Parties, without
      6   fees or costs, except as provided in the Settlement Agreement.
      7         14.     By operation of this Final Judgment and Order, the Releasing Parties
      8   release and forever discharge the Released Parties from the Released Claims, and the
      9   Released Parties release and forever discharge Plaintiff and Settlement Class Counsel,
     10   as set forth in Section IX, Paragraphs B and C of the Settlement Agreement.
     11         15.     Pharmavite shall not be required to recall, relabel, repackage, remove
     12   from shelves, or pull or withdraw from distribution or inventory any Covered
     13   Products that have been manufactured or shipped by Pharmavite prior to the date
     14   starting 180 days after the Effective Date.
     15         16.     Neither the Settlement Agreement, nor any of its provisions, nor any of
     16   the documents (including but not limited to drafts of the Settlement Agreement, this
     17   Preliminary Approval Order, or the Final Order and Judgment), negotiations, or
     18   proceedings relating in any way to the Settlement, shall be construed as or deemed to
     19   be evidence of an admission or concession by any person, including Pharmavite, and
     20   shall not be offered or received in evidence, or subject to discovery, in this or any
     21   other action or proceeding except in an action brought to enforce its terms or except
     22   as may be required by law or Court order.
     23         17.     The Court makes the following awards to Plaintiff and Settlement Class
     24   Counsel:
     25         a. $ 3,475,000.00 as attorneys’ fees collectively to Bonnett, Fairbourn,
     26               Friedman & Balint, P.C., Siprut, PC, Boodell & Domanskis, LLC, Levin
     27               Sedran & Berman, and Westerman Law Corp.
     28         b. $ 600,000.00 as costs collectively to Bonnett, Fairbourn, Friedman & Balint,
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      1               P.C., Siprut, PC, Boodell & Domanskis, LLC, Levin Sedran & Berman, and
      2               Westerman Law Corp.
      3         c. $ 10,000.00 as an incentive award to the Class Representative.
      4   In accordance with the Settlement Agreement, these amounts shall be paid to the
      5   escrow/trust account of Bonnett, Fairbourn, Friedman, & Balint, P.C. for further
      6   distribution to Plaintiff and Settlement Class Counsel.
      7         18.      Without further order of the Court, the Parties may agree to reasonable
      8   extensions of time to carry out any of the provisions of the Settlement Agreement.
      9         19.      Neither Settlement Class Counsel's applications for an incentive award,
     10   attorneys' fees, and reimbursement of expenses, nor any order or proceedings relating
     11   to such applications, nor any appeal from any order relating thereto or reversal or
     12   modification thereof, shall in any way affect or delay the finality of this Judgment, and
     13   all such matters shall be considered separate from this Final Judgment and Order.
     14         20.      Without affecting the finality of this Final Judgment and Order, the
     15   Court retains exclusive jurisdiction over this action, the Parties, and all Settlement
     16   Class members to determine all matters relating in any way to the Final Judgment and
     17   Order, the Preliminary Approval Order, or the Settlement Agreement, including but
     18   not limited to the administration, implementation, interpretation, or enforcement of
     19   such orders or Agreement.
     20         21.      Based upon the Court's finding that there is no just reason for delay of
     21   enforcement or appeal of this Order notwithstanding the Court's retention of
     22   jurisdiction to oversee implementation and enforcement of the Settlement Agreement,
     23   the Court directs the Clerk to enter final judgment.
     24   IT IS SO ORDERED.
     25

     26   Dated: December 4, 2017
                                                   Hon. Christina A. Snyder
     27
                                                   U.S. District Judge
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